Case 2:19-cr-00072-Z-BR       Document 49          Filed 07/30/19   Page 1 of 1    PageID 98



                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                               AMARILLO DIVISION

 UNITED STATES OF AMERICA,                          §
                                                    §
                                      Plaintiff,    §
                                                    §    Criminal No. 2:19-CR-072-D-BR
 VS.                                                §
                                                    §
 RICARDO TOSQUI MORENO (1),                         §
                                                    §
                                   Defendant.       §

                  ORDER ADOPTING REPORT AND RECOMMENDATION
                        CONCERNING PLEA OF GUILTY

       On July 12, 2019, a Report and Recommendation Concerning Plea of Guilty was issued in
the above referenced cause. The response period has expired and no objections have been filed.

       The Court has made an independent examination of the records in this case and has
examined the Magistrate Judge's Report and Recommendation Concerning Plea of Guilty. The
Court is of the opinion that the Report and Recommendation Concerning Plea of Guilty of the
United States Magistrate Judge should be ADOPTED by the United States District Court.

        The Court therefore does adopt the Report and Recommendation Concerning Plea of Guilty
as to defendant RICARDO TOSQUI MORENO (1).

        ACCORDINGLY, IT IS THEREFORE ORDERED that the guilty plea of defendant
RICARDO TOSQUI MORENO (1) as to COUNT(S) 1 of the superseding information is found to
have been knowingly and voluntarily entered and both the guilty plea and the plea agreement are
accepted. A Scheduling Order for Sentencing was previously entered, and this case is continued
for sentencing pending receipt of the presentence report.

       ENTERED this July 30, 2019.


                                            _________________________________
                                            SIDNEY A. FITZWATER
                                            SENIOR JUDGE
